






Opinion issued March 15, 2007














In The

Court of Appeals

For The

First District of Texas

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NO. 01-07-00167-CV

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IN RE STERLING FLUID SYSTEMS (USA), L.L.C. , Relator






Original Proceeding on Petition for Writ of Mandamus





MEMORANDUM OPINION


	Relator, Sterling Fluid Systems (USA), L.L.C. has filed a petition for writ of
mandamus complaining of Judge Davidson's (1) November 3, 2006 order denying its
motions to dismiss on grounds of forum non conveniens. 

	We deny the petition for writ of mandamus.  See Tex. R. App. P. 52.8 (a),(d).

PER CURIAM


Panel consists of Justices Taft, Alcala, and Hanks.	
1. The Honorable Mark Davidson, judge of the 11th District Court of Harris
County, Texas.  The underlying lawsuit is Austin Richards &amp; Gwendolyn
Richards v. Acrowood Corp., et al., trial court cause no. 2006-22116.


